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G. Thomas Martin, II (SBN 218456)
PRICE LAW GROUP, APC

15760 Ventura Blvd., Suite 1100
Encino, CA 91436

Direct Dial: (818) 907-2030

Fax: (318) 205-3730
tom@plglawfirm.com

Attorneys for Plaintiff,
KEVIN ADAMS and NICOLE ADAMS,

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION

Case No.
KEVIN ADAMS and NICOLE 5:12-cv-01577-JAK-SP
ADAMS,
i Honorable John A. Kronstadt
Plaintiff,
VS STIPULATION AND [PROPOSED]

THE LAW OFFICE OF KEVIN Z. SOR eee REN WITH
SHINE, PLLC.; and DOES 1 to10, pp AINTIFF AND DEFENDANT
inclusive, THE LAW OFFICE OF KEVIN Z.
SHINE, PLLC.; and DOES 1 to 10,
Defendants. inclusive,

 

 

Plaintiffs, KEVIN ADAMS and NICOLE ADAMS, by counsel, and
Defendant, THE LAW OFFICE OF KEVIN Z. SHINE, PLLC., by counsel, hereby
stipulate and agree that all matters herein between them have been compromised
and settled, and that Plaintiffs’ cause against THE LAW OFFICE OF KEVIN Z.
SHINE, PLLC.; and DOES 1 to 10, inclusive, should be dismissed, with prejudice,

with each party to bear its own costs and attorneys’ fees.

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STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

 
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Respectfully submitted this 22™ day of February, 2013,

By: /s/ G. Thomas Martin, I]

G. Thomas Martin, TI (SBN 218456)
PRICE LAW GROUP, APC

15760 Ventura Bivd., Suite 1100
Encino, CA 91436

Direct Dial: (818) 907-2030

Fax: (818) 205-3730
tom@plglawfirm.com

By:/s/ Sean P, Flynn
Sean P. Flynn, Esq. (SBN 220184)

Foley & Mansfield, PLLP

300 South Grand Avenue

Suite 2800

Los Angeles, CA 90071

213-283-2100

213-283-2101 (fax)
sflynn@foleymansfield.com

Attorneys for Defendant

THE LAW OFFICE OF KEVIN Z. SHINE,
PLLC

STIPULATION AND [PROPOSED] ORDER OF DISMISSAL WITH PREJUDICE

 

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